                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                            DOCKET NO. 3:11CR190-MOC-DSC

UNITED STATES OF AMERICA,                        )
                                                 )
                       Plaintiff,                )                     SECOND
                                                 )              PRELIMINARY ORDER
               v.                                )                 OF FORFEITURE
                                                 )               (MONEY JUDGMENT)
(1) BONNIE KNIGHT BRIDGES,                       )
                                                 )
                       Defendant.                )

       In the Bill of Information in this case, the United States sought forfeiture of property of the

Defendant as property that was proceeds of and/or was used to facilitate the crimes charged, together

with any other substitute property, which would be subject to forfeiture under 21 U.S.C. ' 853(p).

       Defendant entered into a plea agreement and subsequently pled guilty to counts one and two

in the Bill of Information. She was adjudged guilty of the offenses charged in those counts. Based

on the undisputed evidence summarized in the offense conduct section of the pre-sentence report,

it appears that more than $7 million in criminal proceeds was obtained as a result of the offenses

committed by Defendant in this case.

       It is therefore ORDERED that Defendant shall pay a money judgment for forfeiture of

criminal proceeds in the amount of $7 million, and shall be jointly and severally liable with any

other Defendants who are also ordered to pay a proceeds money judgment in this case.

       SO ORDERED.                               Signed: October 16, 2012




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